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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


JUDICIAL WATCH, INC.,         )
                              )
                   Plaintiff, )
                              )
             v.               )         Civil Action No: 1:10-cv-01834 (PLF)
                              )
NATIONAL ARCHIVES AND         )
RECORDS ADMINISTRATION,       )
                              )
                   Defendant. )
                              )


         DEFENDANT’S MEMORANDUM IN SUPPORT OF ITS
                     MOTION TO DISMISS
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                                   INTRODUCTION

       Plaintiff Judicial Watch, Inc., purporting to enforce the Presidential Records Act

of 1978 (PRA), 44 U.S.C. §§ 2201-2207, requests that this Court order the National

Archives and Records Administration (NARA) to physically seize the personal audio

diary of former President Clinton. This extraordinary request is unfounded, contrary

to the PRA’s express terms, and contrary to traditional principles of administrative

law. Even taking all factual allegations in the complaint as true, the requested audio

diary is a “personal record” as defined by the PRA, 44 U.S.C. § 2201(3)(A), and

therefore is not subject to any governmental control. But even assuming for purposes

of this motion that the audio diary in question could be considered a presidential and

not personal record, NARA has complete discretion as to when to pursue the recovery

of presidential records not in its possession. And because NARA has this absolute

discretion over when to initiate enforcement proceedings, courts cannot order NARA

to seize particular records when NARA has exercised its discretion not to do so.

       This Court’s inability to issue such an order is fatal to Plaintiff’s lawsuit.

Plaintiff’s only alleged injury is a lack of access to President Clinton’s audio diary. See

Compl. at ¶21. To remedy that injury, Plaintiff asks this Court, in part, to “order

[NARA] to assume custody and control of” President Clinton’s audiotapes. Compl. at 5.

But this Court cannot provide such a remedy, and therefore is unable to redress

Plaintiff’s injury. Plaintiff’s complaint, consequently, should be dismissed for lack of

standing.




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      The above analysis assumes, moreover, that Plaintiff even has a cognizable

cause of action under the Administrative Procedure Act (APA)—which it does not. The

PRA is a statute that “preclude[s] judicial review” under the APA, 5 U.S.C. § 701(a)(1),

as the D.C. Circuit’s decisions in the Armstrong cases confirm. Indeed, the D.C. Circuit

already has rejected attempts by private litigants to obtain “judicial review of the

President’s general compliance with the PRA,” which is precisely what Plaintiff seeks

to accomplish here.    Armstrong v. Bush, 924 F.2d 282, 291 (1991) [hereinafter

Armstrong I]. Moreover, even apart from the Armstrong decisions, the PRA’s text,

structure, purpose, and history all confirm that the PRA precludes judicial review for

the particular decision that Plaintiff is challenging here—NARA’s determination that

President Clinton properly classified particular records as “personal” rather than

“presidential.”

      Yet another threshold issue requires that Plaintiff’s lawsuit be dismissed:

Plaintiff’s purported APA challenge fails to identify any final agency action. Prior to

this lawsuit, Plaintiff pursued President Clinton’s audiotapes under the Freedom of

Information Act (FOIA). NARA rejected Plaintiff’s FOIA request on the ground that

NARA did not have custody over President Clinton’s tapes. NARA then went on to

state that, based on the facts provided by Plaintiff, the audiotapes were President

Clinton’s personal records, and thus would not be subject to FOIA even if they were in

NARA’s custody. Plaintiff now seizes on this language from NARA’s letter and

characterizes it as a final agency determination regarding the PRA claim presented

here. That argument is untenable; NARA’s discussion of the audiotapes was solely in


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the context of a FOIA appeal, and did not have any legal consequences under the PRA.

Thus, there is no final agency action for this Court to review with respect to Plaintiff’s

PRA claim.

      Finally, even were the Court to conclude that judicial review is available and

that NARA made a final determination as to Plaintiff’s PRA claim, the Court should

still dismiss Plaintiff’s complaint for failure to state a claim upon which relief can be

granted. Even taking all of Plaintiff’s factual allegations as true, NARA correctly

upheld President Clinton’s classification of the audiotapes as personal records. NARA

considered all of the relevant factors and properly explained its decision, which amply

demonstrates that NARA did not act arbitrarily or capriciously. NARA’s significant

institutional expertise with respect to presidential records also entitles its decision to

a measure of deference, which Plaintiff’s allegations do not overcome. Thus, Plaintiff’s

complaint should be dismissed.

                                   BACKGROUND

I.    Statutory Framework

             A.     Historical Context

      Although Plaintiff’s lawsuit is based solely on the Presidential Records Act, two

of the PRA’s predecessor statutes are also important to this case.

      First, the Federal Records Act (FRA) is “a series of statutes that collectively

govern the creation, management, and disposal of records by federal agencies.”

Citizens for Responsibility & Ethics in Washington (CREW) v. Dep’t of Homeland Sec.,

527 F. Supp. 2d 101, 108 (D.D.C. 2007); see 44 U.S.C. §§ 2101-18, 2901-09, 3101-07,


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3301-24. Under the FRA, “[t]he head of each Federal agency shall make and preserve

records containing adequate and proper documentation of the organization, functions,

policies, decisions, procedures, and essential transactions of the agency[.]” 44 U.S.C.

§ 3101.

      The Archivist of the United States—who is the head of NARA—plays an

important role in administering the FRA. Specifically, the Archivist “shall provide

guidance and assistance to Federal agencies,” id. § 2904(a), and “may inspect the

records or the records management practices and programs of any Federal agency,”

id. § 2906(a)(1). Additionally, an agency head may not dispose of any records without

the approval of the Archivist. See id. §§ 3303a, 3314.

      The FRA also creates an administrative enforcement scheme, by which the

Archivist and an agency head must notify each other if one of them learns “of any

actual, impending, or threatened unlawful removal, defacing, alteration, or destruction

of records in the custody of the agency[.]” Id. §§ 2905(a), 3106. The agency head, with

the assistance of the Archivist, must then “request that the Attorney General initiate

an action to prevent the destruction of documents” or to recover unlawfully removed

documents. Armstrong I, 924 F.2d at 294. If the agency head refuses to make that

request, then the Archivist must “notify Congress and independently request that the

Attorney General initiate an action[.]” Id.

      This administrative enforcement scheme is exclusive. Thus, courts may not

order the recovery or retrieval of records that may have been removed or destroyed.

See id. (“Because it would clearly contravene this system of administrative enforcement

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to authorize private litigants to invoke federal courts to prevent an agency official from

improperly destroying or removing records, we hold that the FRA precludes judicial

review of such actions.”).

      The second predecessor statute to the PRA is the Presidential Recordings and

Materials Preservation Act of 1974 (PRMPA), see note following 44 U.S.C. § 2111.

Prior to the PRMPA, presidential records were “treated as the President’s private

property.” Nixon v. United States, 978 F.2d 1269, 1284 (D.C. Cir. 1992). In 1974,

however, Congress became concerned that former President Nixon might destroy

records relating to the Watergate investigation. See id. at 1271. Accordingly, Congress

passed the PRMPA, which instructed the General Services Administration (GSA)—at

the time the parent agency of the National Archives—to seize President Nixon’s

records, and to promulgate regulations providing for public access to those records. See

note following 44 U.S.C. § 2111 at §§ 101, 104. President Nixon challenged the

PRMPA’s constitutionality, but the Supreme Court upheld the PRMPA’s facial validity,

and the D.C. Circuit upheld the PRMPA’s implementing regulations. See Nixon v.

Adm’r of GSA, 433 U.S. 425 (1977); Nixon v. Freeman, 670 F.2d 346 (D.C. Cir. 1982).

      The PRMPA, by its terms, applied only to President Nixon’s records. But Title II

of the PRMPA created a “National Study Commission on Records and Documents of

Federal Officials” to make recommendations to Congress and the President on, among

other things, whether or not the records of Presidents should be subject to federal law.

See generally 44 U.S.C. §§ 3315-3324. Accordingly, “[t]he controversy over the Nixon

materials prompted subsequent congressional reconsideration of the traditional

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disposition and preservation of Presidential materials. That reconsideration resulted

in the passage of the Presidential Records Act of 1978[.]” Nixon v. Freeman, 670 F.2d

at 349 n.2. When drafting the PRA, therefore, Congress was “acutely aware” of the

PRMPA and the litigation surrounding it. Armstrong v. Bush, 721 F. Supp. 343, 350

(D.D.C. 1989), overruled on other grounds by Armstrong I, 924 F.2d at 282.

             B.     The Presidential Records Act of 1978.

      The Presidential Records Act of 1978, 44 U.S.C. §§ 2201-2207, commonly known

as the PRA, creates a scheme governing the preservation and disclosure of presidential

records, which applies to all Presidents starting with President Reagan. During a

President’s time in office, the PRA directs the President “to take all such steps as may

be necessary to assure that” presidential records are created and maintained pursuant

to the PRA. Id. § 2203(a).

      Unlike the FRA, however, the PRA contemplates a limited role for the Archivist

during a President’s time in office. Indeed, “the PRA accords the President virtually

complete control over his records during his term of office. Although the President

must notify the Archivist before disposing of records and the Archivist may inform

Congress of the President’s desire to dispose of the records, neither the Archivist nor

the Congress has the authority to veto the President’s disposal decision.” Armstrong I,

924 F.2d at 290.

      Once a President’s time in office has concluded, the Archivist receives the

presidential records, and deposits them in a presidential archival depository, commonly




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referred to as a presidential library. See 44 U.S.C. § 2203(f). The Library must then

begin processing and organizing the records to provide for public access. Id.

      Most presidential records become available to the public beginning five years

after the President leaves office, either through FOIA requests or when the Library has

processed the records.     See id. § 2204(b)(2) & (c)(1).     For certain categories of

information, however, the President, prior to leaving office, may “specify durations, not

to exceed 12 years, for which access shall be restricted[.]” Id. § 2204(a). During that

period, the Archivist, after consulting with the former President, determines whether

a particular presidential record falls within one of the restricted categories. Id.

§ 2204(b)(3). The Archivist’s decision is not subject to judicial review, unless “the

former President assert[s] that a determination made by the Archivist violates the

former President’s rights or privileges.” Id. § 2204(e).

      Importantly to this case, the PRA’s preservation and disclosure provisions apply

only to presidential records—not personal records. In its definition of “presidential

records,” the PRA specifically excludes the President’s “personal records.” See id.

§ 2201(2)(B) (“The term ‘Presidential records’ . . . does not include any documentary

materials that are . . . personal records[.]”). And the term “personal records” is in turn

defined as including, among other things, “diaries, journals, or other personal notes

serving as the functional equivalent of a diary or journal which are not prepared or

utilized for, or circulated or communicated in the course of, transacting Government

business.” Id. § 2201(3)(A). A former President’s diary or its functional equivalent,

therefore, is specifically excluded from the definition of a presidential record.

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      The PRA requires the President, “to the extent practicable,” to “categorize[]”

materials as presidential records or personal records “upon their creation or receipt”

and to “file[] [them] separately.” Id. § 2203(b). It then directs the Archivist of the

United States to “assume responsibility for the custody, control, and preservation of,

and access to, the Presidential records of that President” upon the conclusion of a

President’s term in office. Id. § 2203(f)(1). The PRA contains no provision compelling

the Archivist to assume responsibility for, or to review, the materials that the

President “categorized” and “filed separately” as personal records.

      Finally, with respect to enforcement, the PRA grants the Archivist the authority

to invoke the same enforcement mechanism embodied in the FRA:

      When the Archivist considers it to be in the public interest, he may
      exercise, with respect to papers, documents, or other historical materials
      deposited under this section, or otherwise, in a Presidential archival
      depository, all the functions and responsibilities otherwise vested in him
      pertaining to Federal records or other documentary materials in his
      custody or under his control.

44 U.S.C. § 2112(c) (emphasis added). Although that language was originally passed

as part of the Presidential Libraries Act of 1955—yet another predecessor statute to

the PRA—the PRA amended § 2112(c) to specifically apply to presidential records as

well. See id. (stating that “[o]nly the first two sentences of this subsection,” which

includes the sentence quoted above, “shall apply to Presidential records”).

II.   Factual Background

      Plaintiff Judicial Watch alleges that “[d]uring the course of his presidency,

President Clinton enlisted historian Taylor Branch to assist President Clinton in



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creating an oral history of his eight years in office.” Compl. at ¶8. That oral history,

Plaintiff says, was recorded on a number of audiotapes. Id. at ¶9.

      On October 7, 2009, Plaintiff sent a request to the Clinton Presidential Library,

pursuant to the Freedom of Information Act (FOIA), 5 U.S.C. § 552, seeking copies of

the Taylor Branch audiotapes. See Compl. at ¶12. The Clinton Presidential Library

denied that request. Id. at ¶13.

      On November 2, 2009, Plaintiff appealed that denial to NARA. Id. at ¶14. On

March 16, 2010, NARA, through Deputy Archivist Adrienne C. Thomas, rejected

Plaintiff’s FOIA appeal. Id. at ¶15. Ms. Thomas explained that the requested audio

tapes “are not and have never been physically located at the Clinton Library or at any

other NARA facility[.]” See Ex. 4 at 2 (Letter from Adrienne C. Thomas to Michael

Bekesha). That was the end of Ms. Thomas’s FOIA analysis, though she then went on

to explain why, based “[o]n the facts made available to me, I do not believe the

materials in question fall within the ambit of the PRA.” Specifically, Ms. Thomas

stated that she was “of the opinion that the audio tapes . . . are personal records of

President Clinton[.]” Id.

      Plaintiff thereafter filed this lawsuit, bringing one claim under the APA, 5

U.S.C. § 701, et seq. Plaintiff’s claim asserts that NARA arbitrarily and capriciously

labeled the audio tapes personal records, Compl. at ¶20, and that classifying the tapes

as personal is “irreparably harm[ing]” Plaintiff by “prevent[ing] Plaintiff from gaining

access to the audiotapes through FOIA.” Compl. at ¶21. Thus, Plaintiff asks this

Court for a number of remedies: to declare NARA’s classification of the records as

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personal to be arbitrary and capricious; to declare that the tapes are presidential

records; to order NARA to assume custody and control of the tapes; to order NARA to

deposit the tapes in the Clinton Presidential Library; and to order NARA to process the

tapes under FOIA. Compl. at 5.

III.   Standard of Review

       Defendant NARA moves to dismiss the complaint for lack of subject-matter

jurisdiction under Rule 12(b)(1) of the Federal Rules of Civil Procedure. Plaintiff bears

the burden of showing subject-matter jurisdiction. See Lujan v. Defenders of Wildlife,

504 U.S. 555, 561 (1991). Indeed, it is “presume[d] that federal courts lack jurisdiction

unless the contrary appears affirmatively from the record.” DaimlerChrysler Corp. v.

Cuno, 547 U.S. 332, 342 n.3 (2006) (internal quotation marks omitted).

       NARA also moves to dismiss the complaint under Federal Rule of Civil

Procedure 12(b)(6) for failure to state a claim upon which relief can be granted. In

evaluating the sufficiency of the complaint, the Court may consider “the facts alleged

in the complaint, any documents either attached to or incorporated in the complaint

and matters of which [the court] may take judicial notice.” EEOC v. St. Francis Xavier

Parochial Sch., 117 F.3d 621, 624 (D.C. Cir. 1997). A plaintiff’s “[f]actual allegations

must be enough to raise a right to relief above the speculative level[.]” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007). Although a court must accept all factual

allegations as true, the court is “not bound to accept as true a legal conclusion couched

as a factual allegation[.]” Id. (internal quotation marks omitted).




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                                    ARGUMENT

I.    PLAINTIFF LACKS STANDING BECAUSE IT HAS NOT ALLEGED A
      REDRESSABLE INJURY.

      For Plaintiff to establish constitutional standing, a jurisdictional requirement,

it “must show an injury in fact that is fairly traceable to the challenged conduct and

that will likely be redressed by a favorable decision on the merits.” Rempfer v.

Sharfstein, 583 F.3d 860, 868 (D.C. Cir. 2009). A plaintiff’s articulation of its injury

is limited to the allegations in the complaint. See FW/PBS, Inc. v. City of Dallas, 493

U.S. 215, 231 (1990) (“[P]etitioners in this case must allege facts essential to show

jurisdiction. If they fail to make the necessary allegations, they have no standing.”

(internal quotations and alterations omitted)).

      Here, Plaintiff’s sole articulation of its injury is that NARA is “prevent[ing]

Plaintiff from gaining access to the audiotapes through FOIA.” Compl. at ¶21.

Plaintiff’s own complaint admits, however, that NARA does not currently possess the

audiotapes. See id. at ¶16 (“On information and belief, President Clinton unlawfully

retained the requested audiotapes after leaving office.”).

      To redress Plaintiff’s injury, then, this Court would have to compel NARA to

seize the audiotapes from President Clinton—and indeed, that is precisely the relief

that Plaintiff seeks. See id. at 5 (requesting the Court to “order Defendant to assume

custody and control of the requested records”). That relief is unavailable, however, and

thus Plaintiff’s injury is not redressable by this Court. See Newdow v. Roberts, 603




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F.3d 1002, 1013 (D.C. Cir. 2010) (denying standing because “[t]he only apparent

avenue of redress for plaintiffs’ claimed injuries . . . is unavailable”).

       A.     The Court Cannot Compel NARA to Assume Custody and Control
              of the Audiotapes, Because the PRA Does Not Mandate It.

       Plaintiff’s requested relief here is quite remarkable. Plaintiff seeks to compel

NARA to seize materials from a former President of the United States, even though the

former President presumably considers those materials to be personal records.

Plaintiff makes that request, moreover, without identifying any clear basis for it. That

lack of specificity is not by accident: No provision in the PRA requires NARA to

“assume custody and control” of President Clinton’s audiotapes.

       Plaintiff’s lawsuit is actually one under the APA, purporting to enforce the terms

of the PRA. This APA lawsuit was Plaintiff’s only option, because the PRA itself does

not provide Plaintiff with a private right of action.        See CREW v. Cheney, 593

F. Supp. 2d 194, 218 (D.D.C. 2009). Plaintiff does not specify which provision of the

APA is the basis for its requested relief, but for its injury to be redressed, it would have

to proceed under 5 U.S.C. § 706(1), which allows a court “to compel agency action

unlawfully withheld.”

       For Plaintiff to obtain relief under that provision, however, Plaintiff must

“assert[] that an agency failed to take a discrete agency action that it is required to

take.” Norton v. S. Utah Wilderness Alliance, 542 U.S. 55, 64 (2004) [hereinafter

SUWA] (emphasis in original). As the Court explained in SUWA, prior to the APA

judicial review of agency action was achieved mostly through writs of mandamus. The



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APA “carried forward [that] traditional practice[,]” and thus the APA—like

mandamus—is “limited to enforcement of a ‘specific, unequivocal command[.]” Id. at

63. For Plaintiff to succeed on its APA claim, then, it must show that the PRA contains

a “specific, unequivocal command” directing NARA to seize all presidential records.

       Plaintiff cannot make that showing. The PRA does not require NARA to

physically seize presidential records, but instead relies upon a much more limited (and

sensible) administrative enforcement scheme. As discussed above, the PRA allows the

Archivist of the United States, “[w]hen the Archivist considers it to be in the public

interest,” to invoke the FRA’s enforcement scheme. 44 U.S.C. § 2112(c). And under the

FRA’s scheme, “the Archivist shall request the Attorney General to initiate” an action

for the recovery of missing records, and “shall notify the Congress when such a request

has been made.” See id. §§ 2905(a), 3106.

       This administrative enforcement scheme is the exclusive method by which

NARA can recover records under the PRA.1 As the Supreme Court has long held, “it

is for Congress to determine how the rights which it creates shall be enforced. . . .

[T]he specification of one remedy normally excludes another.” Switchmen’s Union of


       1
        44 U.S.C. § 2203(f) does not require NARA to physically seize any records, presidential
or personal. That subsection requires the Archivist, when a President leaves office, to “assume
responsibility for the custody, control, and preservation of, and access to, the Presidential
records of that President,” to deposit them in a federal facility, and to make them available to
the public. That subsection presupposes the existence of a departing President’s collection of
presidential records—“the Presidential records of that President”—and requires the Archivist
to assume responsibility for that specific collection. In drafting this subsection, Congress
surely knew that, just a few sentences earlier, it had directed the President to file personal
records separately from this collection of presidential records. Id. § 2203(b). Tellingly,
§ 2203(f) does not reference these personal records or require the Archivist to take any action
with respect to them.

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North America v. Nat’l Mediation Bd., 320 U.S. 297, 301 (1943). Indeed, the D.C.

Circuit already has concluded that the FRA’s enforcement scheme is exclusive. See

Armstrong I, 924 F.2d at 294; see also Kissinger v. Reporters Comm. for Freedom of the

Press, 445 U.S. 136, 149 (1980) (“Congress expressly recognized the need for devising

adequate statutory safeguards against the unauthorized removal of agency records,

and opted in favor of a system of administrative standards and enforcement.”).

Moreover, NARA—the agency charged with administering this provision—treats this

enforcement mechanism as exclusive for both the PRA and the FRA. And, indeed,

NARA previously has invoked this scheme to recover missing presidential materials.

See, e.g., United States v. McElvenny, No. 02-3027, 2003 WL 1741422 (S.D.N.Y. April 1,

2003) (Department of Justice lawsuit in the form of a civil replevin action, seeking

recovery of a map of Cuba annotated by President Kennedy during the Cuban Missile

Crisis).

       Because the PRA relies upon this exclusive enforcement scheme—requesting the

Attorney General to institute an action for the recovery of missing records—the PRA

cannot also impose a duty on NARA to seize missing records.2 Without an unequivocal

duty for NARA to seize presidential records, this Court cannot order NARA to take

such action. See SUWA, 542 U.S. at 63 (“[T]he only agency action that can be

compelled under the APA is action legally required.” (emphasis in original)). Plaintiff’s


       2
          Congress’s administrative enforcement scheme, moreover, makes good sense. The
permanent recovery of a presidential record could involve some sort of judicial proceeding,
which would require the Attorney General’s authorization. See 28 U.S.C. § 516 (stating that
all litigation on behalf of the United States and its agencies “is reserved to officers of the
Department of Justice, under the direction of the Attorney General”).

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requested relief is unavailable, and therefore Plaintiff has not alleged a redressable

injury.

      B.       The Court Cannot Compel NARA to Seize the Audiotapes,
               Because Any Remedies Available Under the PRA Are Committed
               Solely to NARA’s Discretion.

      Even assuming that the PRA places a duty on NARA to seize presidential

records and that the audiotapes here are presidential records, this Court still cannot

order such relief. Plaintiff is essentially asking the Court to order NARA to “enforce”

the PRA against an alleged violator. Again, this request is rather remarkable. For one

thing, the alleged violator here is a former President of the United States. When

enacting the PRA, Congress was keenly aware of “the stark separation of powers

questions implicated by legislation regulating the conduct of the President’s daily

operations.” Armstrong I, 924 F.2d at 292. It is untenable to think that Congress,

mindful of such considerations, would nevertheless authorize a private litigant to

compel the seizure and examination of a former President’s personal records. Such

relief would, as Congress was well aware, raise serious separation of powers and

privacy concerns.

      But Plaintiff’s requested relief suffers from a more straightforward defect as

well. Under traditional administrative-law principles, this Court cannot review

NARA’s decision not to enforce the PRA by seeking recovery of specific materials.

Under the APA, courts cannot review “agency action [that] is committed to agency

discretion by law[.]” 5 U.S.C. § 701(a)(2).     The Supreme Court interpreted this

language in Heckler v. Chaney, 470 U.S. 821 (1985), and concluded that “an agency’s


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decision not to prosecute or enforce, whether through civil or criminal process, is a

decision generally committed to an agency’s absolute discretion.” Id. at 831. To

overcome that presumption of non-reviewability, a plaintiff must show that “the

substantive statute has provided guidelines for the agency to follow in exercising its

enforcement powers.” Id. at 833.

       Here, Plaintiff cannot point to any guidelines in the PRA instructing NARA

when to seize missing records. As the D.C. Circuit has repeatedly held, this silence is

conclusive. See, e.g., Sec’y of Labor v. Twentymile Coal Co., 456 F.3d 151, 157-58 (D.C.

Cir. 2006) (holding that judicial review is unavailable because “the statute is ‘utterly

silent on the manner in which the [agency] is to proceed against a particular

transgressor’” (quoting Baltimore Gas & Elec. Co. v. FERC, 252 F.3d 456, 461 (D.C.

Cir. 2001))); Swift v. United States, 318 F.3d 250, 253 (D.C. Cir. 2003) (stating that

judicial review is unavailable because the statute “neither sets substantive priorities

nor circumscribes the government’s power to discriminate among issues or cases it will

pursue”).

       Nor can Plaintiff look outside the PRA for such criteria. The statutory provision

authorizing NARA to utilize the FRA enforcement mechanism vests the Archivist with

complete discretion for determining when to utilize that mechanism. See 44 U.S.C.

§ 2112(c) (“When the Archivist considers it to be in the public interest, he may . . . .”);

see also Claybrook v. Slater, 111 F.3d 904, 908 (D.C. Cir. 1997) (holding that nearly

identical language—“whenever [the agency representative] determines it to be in the

public interest”—precludes review because that determination is “committed to agency

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discretion”). Thus, the text of the statute makes clear that the Archivist’s decision

whether to initiate enforcement proceedings is unreviewable.

       Moreover, the rationale underlying Chaney supports application of its

presumption here. In Chaney, the Court noted that “an agency decision not to enforce

often involves a complicated balancing of a number of factors which are peculiarly

within its expertise.” 470 U.S. at 831. An agency, for example, “must not only assess

whether a violation has occurred, but whether agency resources are best spent on this

violation or another, . . . whether the particular enforcement action requested best fits

the agency’s overall policies, and, indeed, whether the agency has enough resources to

undertake the action at all.” Id.

       Here, NARA is a relatively small agency with limited resources. And yet NARA

is tasked with an extremely difficult mission: For every federal agency, NARA must

“ensur[e] adequate and proper documentation of the policies and transactions of the

Federal Government and ensur[e] proper records disposition.” 44 U.S.C. § 2904(a).

Needless to say, then, NARA must carefully marshal its resources and prioritize its

efforts; private direction of its enforcement activity would create significant

disruption.3 As the Court concluded in Chaney, private litigants should not be able to

control an agency’s budget or its agenda. See Chaney, 470 U.S. at 831-32; see also


      3
         Not every presidential record is necessarily worth pursuing through an enforcement
proceeding. Although many presidential records are extremely historically significant, some
are rather mundane, such as White House parking records maintained by the Office of
Administration. See generally CREW v. Office of Admin., 559 F. Supp. 2d 9 (D.D.C. 2008)
(concluding that the Office of Administration, which is part of the Executive Office of the
President, is not an “agency” subject to FOIA and the Federal Records Act, but is instead
subject to the Presidential Records Act), aff’d, 566 F.3d 219 (D.C. Cir. 2009).

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Massachusetts v. EPA, 549 U.S. 497, 527 (2007) (“As we have repeated time and again,

an agency has broad discretion to choose how best to marshal its limited resources and

personnel to carry out its delegated responsibilities. That discretion is at its height

when the agency decides not to bring an enforcement action.” (internal citations

omitted)).

       At bottom, the PRA wisely sets no limits on NARA’s enforcement discretion.

Thus, NARA’s view that the requested audio diary is a personal record and its decision

not to seek possession of it through an enforcement action is not reviewable. Again,

because the Court cannot order NARA to pursue such an action, Plaintiff’s only alleged

injury—a lack of access to President Clinton’s audiotapes—cannot be redressed by this

Court. Plaintiff has failed to carry its burden to show that it has standing, and

therefore the complaint should be dismissed for lack of subject-matter jurisdiction. See

Newdow, 603 F.3d at 1013 (denying standing because “[t]he only apparent avenue of

redress for plaintiffs’ claimed injuries . . . is unavailable”).

II.    THE PRA PRECLUDES JUDICIAL REVIEW OF PLAINTIFF’S CLAIM
       UNDER THE APA.

       Even apart from Plaintiff’s lack of standing, this lawsuit must be dismissed

because the PRA precludes judicial review of Plaintiff’s APA claim. See 5 U.S.C.

§ 701(a)(1) (stating that the APA applies “except to the extent that . . . statutes

preclude judicial review”). Two independent reasons compel this conclusion.

       First, the D.C. Circuit’s Armstrong decisions have already held that Plaintiff’s

APA claim is precluded. See Armstrong I, 924 F.2d at 291 (“We therefore hold that the



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PRA precludes judicial review of the President’s recordkeeping practices and

decisions.”). Second, the PRA’s text, history, structure, and purpose all confirm that

private litigants are precluded from challenging the President’s classification of a

record as personal under the PRA.

      A.     The D.C. Circuit’s Armstrong Decisions Have Already Determined
             That Plaintiff’s APA Claim is Precluded by the PRA.

      Binding precedent has already determined that “the PRA is one of the rare

statutes that does impliedly preclude judicial review.” Armstrong I, 924 F.2d at 290.

Indeed, the type of review that the D.C. Circuit rejected in that case—“judicial review

of the President’s general compliance with the PRA at the behest of private

litigants”—is precisely the review that Plaintiff requests here. Id. at 291; see Compl.

at ¶16 (alleging that “President Clinton unlawfully retained the requested audio-

tapes”). Because such review is precluded, Plaintiff’s complaint must be dismissed.

                    1.    The Armstrong Decisions.

      The D.C. Circuit’s Armstrong decisions all involve a lawsuit alleging that then

Presidents Ronald Reagan and George H.W. Bush, among other defendants,

“intend[ed] to delete material from the White House computer systems in violation of

the FRA and PRA.” Armstrong I, 924 F.2d at 286. Specifically, the Armstrong

plaintiffs sought access to emails that were stored on the National Security Council’s

(NSC’s) computers during the Reagan administration. The defendants moved for

summary judgment in the district court, which the court denied after concluding that




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“judicial review of the President’s compliance with the PRA is permissible under the

APA[.]” Armstrong v. Bush, 721 F. Supp. 343, 353 (D.D.C. 1989).

      On appeal, however, the D.C. Circuit reversed the district court’s conclusion.

After reviewing the PRA’s structure and history, the Court stated: “[I]t is difficult to

conclude that Congress intended to allow courts, at the behest of private citizens, to

rule on the adequacy of the President’s records management practices or overrule his

records creation, management, and disposal decisions.” Armstrong I, 924 F.2d at 290.

The Court acknowledged that its decision left open the possibility that the PRA would

not be fully enforced, but concluded that was Congress’s conscious decision:

      In declining to give outsiders the right to interfere with White House
      recordkeeping practices, Congress presumably relied on the fact that
      subsequent Presidents would honor their statutory obligations to keep a
      complete record of their administrations. We will not second-guess that
      decision or upset the political compromises it entailed. Allowing judicial
      review of the President’s general compliance with the PRA at the behest
      of private litigants would substantially upset Congress’ carefully crafted
      balance of presidential control of records creation, management, and
      disposal during the President’s term of office and public ownership and
      access to the records after the expiration of the President’s term. We
      therefore hold that the PRA precludes judicial review of the President’s
      recordkeeping practices and decisions.

Id. at 290-91. The Armstrong I Court did, however, permit plaintiffs to pursue their

FRA-based claim that NSC’s record-keeping guidelines inadequately defined what

materials constituted federal records. See id. at 291.

      On remand, the Armstrong plaintiffs amended their complaint to omit all claims

based on the PRA. See Armstrong v. Bush, 139 F.R.D. 547, 550 (D.D.C. 1991); see also

Ex. 5, Armstrong v. Bush, Civ. No. 89-0142, Mot. for Leave to File Am. Compl. & 2d



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Am. Compl. at 1 (“[P]laintiffs’ Second Amended Complaint, in response to the court of

appeals’ conclusion that judicial review of compliance with the Presidential Records Act

is not available, omits plaintiffs’ claims for relief under that Act.”). Instead, plaintiffs

pursued only their FRA- and FOIA-based claims—namely, their claim that NSC’s

guidelines defining “federal records” were inadequate. See id. at ¶20 (“NSC [has]

issued guidelines . . . on records identification, management, and disposal. These

guidelines . . . fail to provide adequate procedures or guidance to preserve agency

records[.]”).   During discovery, when plaintiffs sought access to NSC guidelines

defining what constituted a “presidential record”—which was necessary to determine

how NSC was defining a “federal record”—the district court, relying on Armstrong I,

rejected plaintiffs’ request:

       The Court of Appeals held that the PRA precludes judicial review of the
       President’s recordkeeping practices and decisions. . . . While the plaintiffs’
       argument has some appeal—that is, a logical way to determine what the
       agency defines as a record under the FRA is to see what materials are
       excluded from that definition—it violates the clear mandate from the
       Court of Appeals. The plaintiffs must focus on the defendants’ guidelines
       relating to “federal records” rather than conducting discovery on the
       instructions relating to “Presidential records”.

Armstrong v. Bush, 139 F.R.D. at 551.

       Plaintiffs appealed, and again the D.C. Circuit reversed. The Court re-affirmed

its opinion in Armstrong I, but carved out a “narrow, clearly defined limitation” on the

scope of the PRA’s preclusion of judicial review. Armstrong v. Exec. Office of the

President, 1 F.3d 1274, 1292 (D.C. Cir. 1993) [hereinafter Armstrong II]. Specifically,

the Court held that courts could review “guidelines defining presidential records under



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the rubric of substantive FOIA law.” Id. at 1292 (emphasis added). Congress, when

passing the PRA, specifically excluded records subject to FOIA from the definition of

“presidential records.” See 44 U.S.C. § 2201(2)(B)(i). Thus, judicial review under the

rubric of substantive FOIA law was necessary to “avert[] a clash in the role of judicial

review under the two statutory schemes” of FOIA and the PRA. Armstrong II, 1 F.3d

at 1292; see also id. at 1294 (“Congress expressly intended when it passed the PRA to

preserve unchanged the coherent body of law that had been developed under the FOIA,

and it is that body of law that provides the basis for our limited review of the definition

of presidential records provided in the guidelines.” (emphasis added)).

       The holding of Armstrong II, therefore, is that a court, when considering FRA-

or FOIA-based claims, may engage in “limited review” of “guidelines defining

presidential records” to assure that those guidelines “do not improperly sweep in

nonpresidential records” that would otherwise be subject to the FRA or FOIA. Id. at

1278. The Armstrong II decision did not, however, modify Armstrong I’s conclusion

that courts cannot directly review a President’s compliance with the PRA.              See

Armstrong v. Exec. Office of the President, 90 F.3d 553, 556 (D.C. Cir. 1996) [hereinaf-

ter Armstrong III] (“[R]ecordkeeping requirements of the FRA are subject to judicial

review and enforcement; those of the PRA are not.”). The Armstrong II panel said

nothing about judicial review of stand-alone PRA claims, because that issue was not

before the Court—the Armstrong plaintiffs, as noted above, had omitted all of their

claims based on the PRA.




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             2.     Plaintiff’s Lawsuit Here is Precluded By the Armstrong
                    Decisions.

      As the D.C. Circuit made clear throughout the Armstrong litigation, the PRA

precludes “judicial review of the President’s general compliance with the PRA at the

behest of private litigants[.]” Armstrong I, 924 F.2d at 291. And yet that is precisely

the kind of review that Plaintiff seeks here. This Court, in evaluating whether to grant

Plaintiff relief, would necessarily have to decide whether “President Clinton unlawfully

retained the requested audiotapes,” as Plaintiff alleges. See Compl. at ¶16 (emphasis

added). Moreover, the exact same relief that Plaintiff seeks here was already rejected

by the D.C. Circuit in Armstrong I. Compare Compl. at 5 (requesting the court to

“declare the requested records to be presidential records”), with Armstrong I, 924 F.2d

at 286-87 (describing plaintiffs’ lawsuit as seeking, in part, a “declaration that many

of the documents stored in the PROFS system . . . are presidential records”). Thus,

Plaintiff’s lawsuit falls within the heart of Armstrong I’s preclusion of judicial review.

      Nothing, moreover, in Armstrong II allows for review of Plaintiff’s lawsuit.

Specifically, there are two key differences between Plaintiff’s lawsuit here and the

review allowed by Armstrong II.

      First, and most fundamentally, Armstrong II allows for review of guidelines that

define what constitutes a presidential record. Here, Plaintiff does not challenge any

guideline or general definition of “presidential records.” Instead, Plaintiff challenges

the application of that term to these particular audiotapes. Such lawsuits are clearly

outside Armstrong II’s provision for limited review of “guidelines defining presidential


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records.” 1 F.3d at 1292.4 Whatever Armstrong II might otherwise stand for, it

certainly does not open up review for Plaintiff’s lawsuit here.

       The second reason why Armstrong II does not provide for review of Plaintiff’s

lawsuit is because Plaintiff’s suit does not include any FRA- or FOIA-based claims. As

discussed above, Armstrong II enables judicial review of guidelines defining

presidential records, but only when the plaintiff is proceeding under FRA- or FOIA-

based claims. When a lawsuit contains only PRA claims, as does Plaintiff’s suit here,

Armstrong II precludes review.5



       4
          Even under the FRA, plaintiffs are precluded from challenging how particular
documents are classified. See Armstrong I, 924 F.2d at 294 (holding that the FRA “preclud[es]
private litigants from suing directly to enjoin agency actions in contravention of agency
guidelines”); CREW v. DHS, 527 F. Supp. 2d at 111-12 (“The FRA . . . precludes a private
action, like this one, that seeks to require agency staff to comply with the agency’s record-
keeping guidelines or the FRA[.]”); Pub. Citizen v. Carlin, 2 F. Supp. 2d 1, 9 (D.D.C. 1997)
(Friedman, J.) (“While judicial review is precluded to the extent that allegations are made that
agency officials are not acting in compliance with their duties under recordkeeping guidelines,
the Court has a role to play in reviewing the guidelines themselves under the APA.”),
overruled on other grounds by Pub. Citizen v. Carlin, 184 F.3d 900 (D.C. Cir. 1999). If a
particular record has been mis-classified, the only recourse is the administrative enforcement
mechanism provided for by Congress.
       5
          To be sure, not every court has agreed with this interpretation of Armstrong II. See,
e.g., CREW v. Cheney, 593 F. Supp. 2d 194 (D.D.C. 2009) (Kollar-Kotelly, J.). But with all due
respect to the Court, Cheney has three significant flaws. First, Cheney reads Armstrong II as
broadly permitting review of PRA claims. But the Armstrong II Court could not have made
a broad pronouncement about what type of review is available under the PRA, because that
Court did not have any PRA claims before it.
        Second, Cheney fails to acknowledge that Armstrong II permitted judicial review
related to the PRA only “to avert[] a clash” with FOIA. Contrary to the Cheney court’s holding,
then, it does matter which statute a plaintiff is proceeding under. See Cheney, 593 F. Supp. 2d
at 215. And third, by narrowly construing Armstrong I to preclude review only of “the
President’s ‘creation, management, and disposal decisions,’” 593 F. Supp. 2d at 214-15, the
Cheney Court ignores the other types of decisions that the Armstrong I Court held were not
subject to review. See Armstrong I, 924 F.2d at 286-87 (plaintiffs sought “a declaration that
many of the documents . . . are presidential records,” and an injunction “directing the
President and NSC to classify and preserve the documents as required by the FRA and PRA”).

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      In sum, the D.C. Circuit’s Armstrong decisions confirm that the PRA precludes

judicial review of Plaintiff’s lawsuit. A necessary element of Plaintiff’s suit here is

reviewing whether President Clinton violated the PRA. Armstrong I precludes such

review, however, and nothing in Armstrong II alters that conclusion. Plaintiff’s lawsuit

should therefore be dismissed.

      B.       The PRA Precludes a Private Litigant From Challenging the
               President’s Classification of a Particular Record as Personal.

      Even apart from the Armstrong decisions, the PRA also evinces a clear intent

to preclude private litigants from challenging the President’s classification of a

particular record as personal. “Whether and to what extent a particular statute

precludes judicial review is determined not only from its express language, but also

from the structure of the statutory scheme, its objectives, its legislative history, and

the nature of the administrative action involved.” Block v. Cmty. Nutrition Inst., 467

U.S. 340, 345 (1984). Here, the PRA’s text, history, structure, and purpose all confirm

that private litigants are unable to challenge the President’s designation of a record

as personal.

      First, the PRA’s text supports the view that private litigants may not challenge

the designation of a record as personal. When drafting the PRA, Congress clearly knew

how to provide for judicial review when it wanted to. It did so expressly with respect

to the administrative enforcement mechanism, 44 U.S.C. § 2112(c), and with respect

to former Presidents’ ability to assert privilege claims. See 44 U.S.C. § 2204(e) (“The

United States District Court for the District of Columbia shall have jurisdiction over



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any action initiated by the former President asserting that a determination made by

the Archivist violates the former President’s rights or privileges.”).6 The absence of

such express language in other sections of the statute, therefore, implies that Congress

intended not to allow judicial review of those actions. See Russello v. United States,

464 U.S. 16, 23 (1983) (“Where Congress includes particular language in one section

of a statute but omits it in another section of the same Act, it is generally presumed

that Congress acts intentionally and purposely in the disparate inclusion or exclusion.”

(internal quotations and alteration omitted)). The text of the PRA, then, counsels

against allowing a private litigant to challenge the President’s designation of a

particular record as personal.

       Second, the PRA’s history confirms that Congress intended to minimize

intrusions on the President’s personal privacy. As alluded to earlier, the PRA was

passed in the wake of the PRMPA and the litigation surrounding that statute. One of

President Nixon’s key arguments in challenging the PRMPA was that it unlawfully

intruded on his personal privacy because it seized his personal papers and subjected

them to review. Although the Supreme Court upheld the facial validity of the PRMPA,

the Justices were highly sensitive to President Nixon’s argument. See Nixon v. Adm’r,

433 U.S. at 459 n.22 (“[T]he Government should now promptly disclaim any interest

in materials conceded to be appellant’s purely private communications and deliver

them to him.”). One of the Justices in the majority even wrote separately to stress that



       6
        Congress also expressly provided for judicial review in the PRMPA. See note following
44 U.S.C. § 2111 at § 105.

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“return of these [personal] materials should proceed without delay.” Id. at 484 (White,

J., concurring in part and concurring in the judgment). And although the Supreme

Court upheld the facial validity of the PRMPA, at the time of the PRA’s passage

President Nixon was still litigating the validity of the regulations promulgated to

implement the PRMPA.           Thus, the precise scope of a President’s privacy

right—specifically his right not to have his personal papers reviewed by others—was

still undefined.

      Congress was well aware of this uncertainty, and sought to ensure that the PRA

would not intrude on future Presidents’ privacy rights. See, e.g., H.R. REP. NO . 95-

1487, pt. 1, at 5-7 (1978), reprinted in 1978 U.S.C.C.A.N. 5732, 5737-38 [hereinafter

HOUSE REPORT] (discussing the history of the Nixon materials and the Supreme Court’s

decision); id. at 11 (noting the need “to properly protect a President’s privacy interests

and his first amendment associational rights”). In light of this history, Congress would

not have authorized private litigants to obtain judicial review of a President’s

determination that certain records are personal. Congress instead left decisions about

whether to recover materials in the possession of a former President (or any other

individual) in the hands of the Archivist and the Attorney General.

      Third, the PRA’s overall structure also supports preclusion of judicial review.

Yet another way the PRA protects the President’s privacy is by allowing the President

to restrict access to certain categories of presidential records for up to twelve years.

See 44 U.S.C. § 2204(a). During that restricted period, a person denied access to a

record has no right to judicial review of that denial. Id. § 2204(b)(3). The President’s

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personal papers, by contrast, are not subject to any restricted period, because those

papers are not government records and are excluded from the public disclosure

requirements of the PRA. Were this Court to permit judicial review, however, it would

lead to the anomalous consequence that the President’s most sensitive papers would

be immediately subject to judicial review. At 12:01p.m. on January 20th, as soon as

the President has left office, a plaintiff would be able to file a lawsuit seeking access

to the former President’s diary, which may include reflections from mere moments ago.

It is highly improbable that Congress, obviously concerned about the President’s

personal privacy, intended such a system.

      That conclusion is re-enforced by the fourth relevant consideration—the purpose

of the provision excluding a President’s personal papers from government control. By

giving each President complete control over his personal papers, Congress hoped that

it would encourage Presidents to create and preserve such papers, and that Presidents

would later voluntarily donate those papers to the National Archives. As Represen-

tative Brademas, one of the PRA’s co-sponsors, explained: “We also hope that, in

protecting materials such as purely personal diaries from mandatory disclosure, we

will encourage their creation in the first instance and keep alive the possibility of a

voluntary gift of these materials.” To Amend the Freedom of Information Act to Insure

Public Access to the Official Papers of the President, and for Other Purposes: Hearings

Before the Subcomm. on Gov’t Information and Individual Rights of the H. Comm. on

Gov’t Operations, 95th Cong. 72 (1978) [hereinafter House Hearings].




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       Senator Nelson, one of the Act’s co-sponsors in the Senate, shared this view: “It

is hoped that allowing former Presidents considerable leeway in the definition of

‘personal records’ will encourage those Presidents to make available those records after

a reasonable length of time.” To Amend Title 44 to Insure the Preservation and Public

Access to the Official Records of the President, and for Other Purposes: Hearing on

S. 3494 Before the S. Comm. on Gov’t Affairs, 95th Cong. 2 (1978) [hereinafter Senate

Hearings]. Moreover, this philosophy was espoused by many prominent witnesses

during the hearings on the PRA.7 And indeed this approach has been vindicated, as

shown by the donation of President Reagan’s personal diary to NARA’s Reagan

Library.

       In light of this philosophy, it is implausible to think that Congress would have

permitted judicial review over a President’s personal papers. Knowing that private

litigants could challenge the designation of personal records would almost certainly

deter a President from creating those records in the first place. And understandably

so—most people, let alone public figures, would balk at the prospect of having to defend

their diary in court. Judicial review, therefore, is inconsistent with the purpose

underlying the PRA’s personal papers provision.




       7
         See, e.g., House Hearings at 389-90 (statement of Daniel J. Boorstin, Librarian of
Congress); id. at 210-11 (statement of Arthur Schlesinger, Jr., Professor of Humanities, City
University of New York). This view was also embraced by the influential report written by the
National Study Commission on Records and Documents of Federal Officials, produced in the
wake of the dispute over the Nixon materials. See House Hearings at 445-46 (“Because of their
great historical value, every encouragement should be offered to the President to preserve
[personal] materials, and to make them publicly available.”).

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       At bottom, the Congress of 1978 did not intend for private litigants to be able to

pursue judicial review over a President’s decision that certain records are personal.

The PRA’s text implicitly precludes judicial review, and the history preceding the PRA

shows that Congress was extremely concerned about future Presidents’ privacy rights.

Moreover, judicial review would be extremely intrusive, particularly because it could

occur immediately after a President’s term ended. Such review would undoubtedly

discourage Presidents from creating or preserving personal records in the first place,

which is the very opposite of Congress’s desired goal. For all of these reasons, this

Court should dismiss Plaintiff’s lawsuit, because the PRA precludes private litigants

from challenging a President’s classification of certain records as personal.8

III.   PLAINTIFF’S LAWSUIT IS PREMATURE BECAUSE NARA HAS NOT
       UNDERTAKEN A FINAL AGENCY ACTION.

       Even assuming that some measure of judicial review were available under the

PRA, the particular facts of this case make review inappropriate. Specifically, NARA

has not yet undertaken a final agency action. The letters that form the basis of this

suit were responses to Plaintiff’s FOIA request, and do not represent a final agency




       8
         To be clear, the above preclusion arguments would not affect a court’s ability to decide
a lawsuit instituted by the Attorney General for the recovery of a presidential record. That
lawsuit, as discussed above, is expressly provided for in the PRA. See 44 U.S.C. § 2112(c); see
also supra Part I.A. Obviously, Congress cannot impliedly preclude something that it provided
for expressly. Moreover, it is not uncommon for Congress to preclude some people from
bringing an action, but not others. See, e.g., Block v. Cmty. Nutrition Inst., 467 U.S. 340, 345
(1984) (“[W]e must examine this statutory scheme to determine whether Congress precluded
all judicial review, and, if not, whether Congress nevertheless foreclosed review to the class
to which the respondents belong.” (internal alterations and quotations omitted)).

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determination regarding the PRA claim at issue here. Judicial review, therefore,

would be premature.

       Under the APA, a plaintiff may obtain judicial review only of “final agency

action[.]” 5 U.S.C. § 704. To constitute “final agency action,” an agency’s action must

have two characteristics: the action “must mark the consummation of the agency’s

decisionmaking process;” and the action “must be one by which rights or obligations

have been determined, or from which legal consequences will flow.” Bennett v. Spear,

520 U.S. 154, 177-78 (1996) (internal quotation marks omitted). Agency action “is not

final if it is only the ruling of a subordinate official, or tentative.” Franklin v.

Massachusetts, 505 U.S. 788, 797 (1992).

       Here, Plaintiff alleges that “Defendant’s March 16, 2010 determination was a

final agency action for which there is no other adequate remedy in a court of law.”

Compl. at ¶19. The March 16th determination was the letter that NARA sent to

Plaintiff, stating that NARA was denying Plaintiff’s FOIA appeal. See Ex. 4 (Letter

from Deputy Archivist Adrienne C. Thomas to Michael Bekesha).

       To be sure, that letter constituted final agency action with respect to Plaintiff’s

FOIA request. But Plaintiff is obviously not pursuing a FOIA claim here.9 Plaintiff

is instead pursuing this APA claim, which requires Plaintiff to characterize the letter



       9
         In Plaintiff’s prayer for relief, Plaintiff does ask for an order requiring NARA “to
process the records pursuant to FOIA,” and for “attorney’s fees and other litigation costs
pursuant to” the FOIA statute. Compl. at 5. Such relief is unavailable in this lawsuit,
however, because those forms of relief are available under FOIA itself. Thus, they cannot be
pursued under the APA. See Bowen v. Massachusetts, 487 U.S. 879, 903 (1988); Kenney v.
Dep’t of Justice, 603 F. Supp. 2d 184, 190 (D.D.C. 2009) (Friedman, J.).

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as a different type of final agency action—a final determination regarding the PRA

issues raised in this lawsuit.

      A close reading of the letter, however, reveals that it does not meet either test

for finality. As an initial matter, the letter did not alter any rights or obligations or

create any legal consequences—at least not with respect to the PRA claim. The letter

was sent as a response to a FOIA appeal, and as soon as NARA stated that it did not

possess the records, that was sufficient to end the FOIA matter. See Kissinger, 445

U.S. at 152 (holding that “possession or control [of records] is a prerequisite to FOIA

disclosure duties”). Whatever language came afterwards could not, by definition, affect

any legal rights or consequences, because the only legal question presented by the

letters had already been resolved. Thus, NARA’s opining about the status of the

audiotapes did not have any legal consequences, which means it was not final agency

action. See Am. Fed’n of Gov’t Employees, AFL-CIO v. O’Connor, 747 F.2d 748, 753

(D.C. Cir. 1984) (Ginsburg, R.B., J.) (“No precedent known to us sanctions court review

of such nonbinding advisory expositions.”).

      Moreover, NARA’s letter does not represent the consummation of its decision-

making process with respect to Plaintiff’s PRA claim here. Plaintiff’s letters to NARA

were written solely within the context of a FOIA claim, and that is what NARA

responded to. Plaintiff did not argue, nor did NARA consider, the precise PRA claim

presented here—namely, that the PRA requires NARA to assume custody and examine

President Clinton’s audiotapes, because those tapes are potential presidential records.

Plaintiff is still free to raise that argument to NARA, and thus judicial review at this


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stage would be premature. See Reliable Automatic Sprinkler Co. v. Consumer Prod.

Safety Comm’n, 324 F.3d 726, 732-33 (D.C. Cir. 2003) (“So long as [Plaintiff] retains

the opportunity to convince the agency that [the agency should take a certain action],

it makes no sense for a court to intervene.”).

      NARA’s letter from March 16, 2010 represents a final agency action for only one

type of claim—a FOIA claim. NARA’s additional comments about the status of the

audiotapes did not directly affect any legal obligations, and did not represent the

consummation of NARA’s decisionmaking process.          Thus, Plaintiff’s lawsuit is

premature because there is no final agency action for this Court to review.

IV.   PLAINTIFF HAS FAILED TO STATE A CLAIM BECAUSE EVEN
      TAKING ALL ALLEGED FACTS AS TRUE, NARA DID NOT ACT
      ARBITRARILY OR CAPRICIOUSLY IN UPHOLDING PRESIDENT
      CLINTON’S CLASSIFICATION OF THE AUDIOTAPES AS PERSONAL
      RECORDS.

      Even if the Court decides that Plaintiff has overcome all of the threshold

barriers to review, Plaintiff’s complaint should still be dismissed on the merits for

failure to state a claim. Nothing in the complaint takes Plaintiff’s right to relief

beyond the “speculative level.” Twombly, 550 U.S. at 555. Even assuming that all of

Plaintiff’s factual allegations are true, NARA correctly upheld President Clinton’s

classification of the audiotapes as personal records. Thus, NARA could not have acted

arbitrarily or capriciously.

      Under the APA, the “arbitrary and capricious” standard of review is a narrow

one. A court may not “substitute its judgment for that of the agency,” and ultimately

may reverse only if the agency has committed “a clear error of judgment.” Citizens to


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Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971). As long as the agency

“examine[s] the relevant data and articulate[s] a satisfactory explanation for its

action,” the agency has not acted arbitrarily or capriciously. Motor Vehicle Mfrs. Ass’n

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

      As Plaintiff’s complaint states, the definition of “presidential records” includes

“documentary materials created by the President ‘in the course of conducting activities

which relate to or have an effect upon the carrying out of the constitutional, statutory,

or other official or ceremonial duties of the President.” Compl. at ¶5 (quoting 44 U.S.C.

§ 2201(2)). Specifically exempted from that definition, however, are a President’s

personal records. See 44 U.S.C. § 2201(2)(B) (“Such term [presidential records] does

not include . . . personal records[.]”). Thus, even if the contents of a personal record

relate to the President’s official duties, that record remains a personal one. As relevant

here, the PRA defines “personal records” to expressly include “diaries, journals, or

other personal notes serving as the functional equivalent of a diary or journal which

are not prepared or utilized for, or circulated or communicated in the course of,

transacting Government business[.]” Id. § 2201(3)(A).

      The relevant question here, therefore, is not whether the requested audiotapes

relate to President Clinton’s official duties as President. That inquiry is irrelevant if

the audiotapes are validly classified as personal records.        Instead, the relevant

questions are whether the audiotapes are “the functional equivalent of a diary” and

whether the tapes were “prepared or utilized for, or circulated or communicated in the

course of, transacting Government business.”

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       As for the first question, NARA properly concluded that the audiotapes are the

functional equivalent of a diary. As Plaintiff’s own complaint alleges, President

Clinton’s goal was to “creat[e] an oral history of his eight years in office.” Compl. at ¶8.

Accordingly, President Clinton recorded his “thoughts and commentary on contempora-

neous events and issues he was facing as president[.]” Id. at ¶9. The audiotapes,

according to Plaintiff, include things like “President Clinton contemplating potential

changes to his cabinet” and “President Clinton’s thoughts and reasoning behind

foreign-policy decisions[.]” Id. at ¶¶11(a), 11(b).

       A person’s thoughts, commentary, contemplations, and reasoning are precisely

the kinds of things that one would expect to find in a diary. And indeed that is what

NARA’s letter concluded:

       It seems self-evident that the President was interested in compiling
       information for use, at his discretion, in personal endeavors following his
       presidency. Indeed, you assert, by citing to Mr. Branch’s book, that the
       audio tapes were a way for President Clinton to explain, during his “post-
       presidency,” his reasoning behind much of his policy-making and decision
       making. This seems to suggest that President Clinton’s intent was to use
       the audio tapes as memory joggers about major initiatives and historical
       events that occurred while he was in office, akin to “diaries, journals or
       other personal notes.”

Ex. 4 at 2 (Letter from Deputy Archivist Adrienne C. Thomas to Michael Bekesha).

This passage satisfactorily explains NARA’s reasoning for why the tapes are the

functional equivalent of a diary.

       The fact that the audiotapes may occasionally include President Clinton’s side

of telephone conversations does not change this conclusion. NARA acknowledged that

issue, too, and likewise addressed it directly: “[W]hile the audio tapes sometimes


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record President Clinton’s statements and actions in response to telephone calls with

local and national leaders, there is no evidence to suggest that the tapes were

circulated to anyone or relied on for policy determinations of the Clinton administra-

tion.” Ex. 4 at 2. Because the tapes themselves were never used as part of President

Clinton’s official duties, NARA properly concluded that the tapes retained their

personal character. A contrary interpretation—that any diary recording official events

suddenly becomes a presidential record—would transform a sanctuary that Congress

carefully constructed into an empty sieve. NARA’s conclusion makes good sense, and

cannot be described as a clear error in judgment.

      As for the second question—whether the tapes were “prepared or utilized for, or

circulated or communicated in the course of, transacting Government business,” 44

U.S.C. § 2201(3)(A)—nowhere does Plaintiff allege that the tapes were, in fact,

prepared for transacting government business, utilized for conducting government

business, circulated in the course of transacting government business, or communi-

cated in the course of transacting government business. Plaintiffs do allege that the

tapes contain content relating to government business—but that is not enough to take

them outside of the carefully crafted exception for diaries. NARA addressed this issue

and explained the basis for its decision. See Ex. 4 at 2 (considering whether the

audiotapes “were created with the intent of their use as government materials, and

whether or not they were circulated within the Administration or relied on as policy

documents,” and concluding that “there is no suggestion that [the tapes] were

circulated or relied on for final decisions, or ever intended to be maintained by the


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White House Office of Records Management”). Again, this explanation goes far beyond

satisfactory, and is hardly a clear error in judgment.

       Finally, any doubt on these questions must be resolved in NARA’s favor based

on the deference owed to NARA—the agency charged with administering the PRA.

Indeed, NARA has significant institutional expertise with respect to presidential

records and personal records of Presidents; NARA and its predecessor agencies have

been operating presidential libraries since the 1940s. Thus, NARA’s interpretation of

the term “diaries, journals, or other personal notes serving as the functional equivalent

of a diary or journal,” 44 U.S.C. § 2201(3)(A), is entitled to significant deference. See

generally United States v. Mead Corp., 533 U.S. 218 (2001). Plaintiff’s allegations

cannot overcome the deferential review that this Court must give to NARA’s conclusion

about the status of the audiotapes.

       Even assuming that all of the facts in Plaintiff’s complaint are true, and that

NARA’s letter constituted a final agency decision, Plaintiff’s right to relief does not rise

above the “speculative level[.]” Twombly, 550 U.S. at 555. In upholding President

Clinton’s classification of the tapes as personal records, NARA properly considered all

of the relevant factors, adequately explained its decision, and did not commit a clear

error in judgment. NARA did not, therefore, act arbitrarily or capriciously, and

Plaintiff’s complaint should be dismissed for failure to state a claim.




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                                   CONCLUSION

      For all the foregoing reasons, Plaintiff’s complaint should be dismissed for lack

of subject-matter jurisdiction, or, in the alternative, for failure to state a claim upon

which relief can be granted.

Dated: January 3, 2011                   Respectfully submitted,

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